Case 1:17-bk-14227-SDR         Doc 58 Filed 10/28/19 Entered 10/28/19 16:03:16              Desc
                                Main Document    Page 1 of 1


                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF TENNESSEE
                                SOUTHERN DIVISION

In re:                                      )   Case No.: 17-14227 SDR
                                            )
Jessica Bryant Snyder,                      )
                                            )   Chapter 13
                                            )
                                            )
  Debtor(s)                                 )


     NOTICE OF WITHDRAWAL OF OBJECTION TO NOTICE OF MORTGAGE
                        PAYMENT CHANGE


         The debtor’s attorney filed a Notice of Mortgage Payment Change, document #36 on 5/7/19.

         Based upon the foregoing, the debtor’s attorney requests that the document number 36 be

withdrawn.



                                                         MARK T. YOUNG & ASSOCIATES

                                                       BY: /s/ Mark T. Young____________
                                                           Mark T. Young              05303
                                                           Attorney for Debtor(s)
                                                           2895 Northpoint Blvd
                                                           Hixson, TN 37343
                                                           423/ 870-5225
